        Case 4:17-cv-01793-RDP-JHE Document 11 Filed 05/08/18 Page 1 of 1                            FILED
                                                                                            2018 May-08 AM 09:04
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 MIDDLE DIVISION


BALBIR SINGH,                                   }
                                                }
        Petitioner,                             }
                                                }
v.                                              }    Case No.: 4:17-cv-01793-RDP-JHE
                                                }
JEFF SESSIONS, ATTORNEY                         }
GENERAL OF THE UNITED STATES                    }
OF AMERICA, et al.,                             }
                                                }
        Respondents.



                                            ORDER

        This matter is before the court on Petitioner’s Petition for Writ of Habeas Corpus. (Doc.

# 1).   For the reasons explained in the Memorandum Opinion entered contemporaneously

herewith, the court concludes that the Petition (Doc. # 1) is DENIED WITHOUT

PREJUDICE.

        The Clerk of Court is DIRECTED to close this case.

        DONE and ORDERED this May 7, 2018.



                                             _________________________________
                                             R. DAVID PROCTOR
                                             UNITED STATES DISTRICT JUDGE
